UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FEDERAL TRADE COMMISSION,
Plaintiff, 20-cv-4432 (JSR)
-v- FINDINGS OF FACT,
CONCLUSIONS OF LAW,
JONATHAN BRAUN, AND FINAL JUDGMENT
Defendant.

JED S. RAKOFF, U.S.D.d.

The Federal Trade Commission (“FTC”) sued defendant, Jonathan
Braun, for violating Section 5(a) of the Federal Trade Commission
Act (“FTC Act”) and Section 521 of the Gramm-Leach-Bliley Act (“GLB
Act”). See First Am. Compl. (“FAC”), {1 33-55, ECF No. 84. On
summary judgment, the undisputed facts established that Mr. Braun
violated Section 5(a) of the FTC Act and Section 521 of the GLB
Act, by cheating borrowers both by underpaying how much they were
entitled to receive from his lending company and by overcharging
how much they were supposed to repay. 9/27/23 Op. at 13-32, ECF
No. 179. The Court accordingly entered a permanent injunction that
in relevant part banned Mr. Braun from “making merchant cash
advances or participating in debt collection activities.” Id. at
A2-45; Order for Permanent Inj. as to Def. Jonathan Braun, ECF No.

183. However, there were genuine disputes of material fact that
precluded summary judgment on the FTC’s request for damages and
civil penalties. 9/27/23 Op. at 32-42.

After summary judgment, three issues remained for trial: (1)
the amount of money that should be awarded to the FTC under Section
19 of the FTC Act in order to redress the injury to consumers
resulting from Mr. Braun’s violation of the GLB Act; (2) whether
Mr. Braun knowingly violated the GLB Act such that it would be
proper to impose civil penalties under Section 5 of the FTC Act;
and (3) if Mr. Braun acted knowingly, the amount of civil penalties
that should be awarded to the FTC. Although the first and third
issues were ultimately for the Court to decide, the parties agreed
that a jury would initially hear all the remaining issues and
render a verdict that would be merely advisory on the amount of
civil penalties and damages but that would be binding on the issue
of whether Mr. Braun acted knowingly.

Accordingly, starting on January 8, 2024, a three-day jury
trial was held. On January 10, 2024, the jury returned a verdict,
finding that Mr. Braun knowingly violated the GLB Act and owed
$3,500,000 in damages and $7,500,000 in civil penalties. See Jury
Verdict, ECF No. 206. The Court is bound by the jury’s
determination that Mr. Braun acted knowingly. However, while the
Court will give some weight to the jury’s recommendation to award
the FTC $3,500,000 in damages and $7,500,000 in civil penalties,

the Court must still determine for itself, based not only on the

evidence presented at trial but also in the post-trial briefing,
the appropriate amount of consumer redress and civil penalties to
award to the FTC. This is further influenced by the fact that the
Court, in order not to prejudice the jury in its determination of
knowledge and intent, kept hidden from the jury such facts as Mr.
Braun’s prior criminal conviction, which arguably might be
relevant to the determination of penalties.

I. Findings of Fact

Based on the exhibits, the undisputed facts found by the Court
on summary judgment, the parties’ post-trial briefs, the trial
testimony, and the Court’s assessment of the trial witnesses’
demeanor and credibility, the Court makes the following factual
findings:

1.Mr. Braun exercised considerable control over his co-
defendants, RCG Advances, LLC (“RCG”); Ram Capital Funding,

LLC (“Ram”), Robert Giardina, and Tzvi Reich (collectively,

the co-defendants). Tr. 91:1-2.1 In Mr. Braun’s own words, he

“was heavily involved in just about every deal that [was]

funded” and “was probably the only one there five days a week

from day one ground zero.” FTC Ex. 75 at 14:19-25.

2.Mr. Braun was an owner, manager, and officer of RCG and had

decision-making authority for all the co-defendants. Tr.

1 Hereinafter, “Tr.” refers to the trial transcript.

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91:2-4. For example, in an email exchange with Mr. Reich and
Michelle Gregg, Mr. Braun stated, “Who is allowed to decide
how much a merchant owes other than me.” FTC Ex. 51-1.

. Mr. Braun and his co-defendants (collectively, the
defendants) misrepresented the amount of money they would
withdraw from their customers’ bank accounts. Tr. 87:21-23.
Specifically, Mr. Braun and his co-defendants withdrew more
money, from their customers’ bank accounts, than they were
owed under the merchant cash advance (“MCA”) agreements. Tr.
87:9-21.

.Mr. Braun personally participated in, had knowledge of, and
had authority to control these over-withdrawals. Tr. 91:9-
11, 92:7-10.

. The Court credits the statistical analysis performed by Dr.
Patrick McAlvanah, an economist at the Bureau of Economics of
the FTC, in order to determine the number of times that Mr.
Braun and his co-defendants over-collected from their
customers. Tr. 32:23-24, 38:23-25. Dr. McAlvanah performed
this analysis for both a five-year window and a three-year
window to account for the different statutes of limitations
for civil penalties and damages respectively. See FTC Ex. 3;

FTC Ex. 4.

6. Starting with the five-year window, the defendants funded
1,499 deals between June 10, 2015, and June 10, 2020. See Tr.
43:23-24, 47:14-17.

7. From those 1,499 deals, Dr. McAlvanah drew a random sample of
87 deals. Tr. 44:2-3. Given the enormous amount of manual -
review that would have been required to analyze each of the
1,499 deals individually, see Tr. 102:10-24, the Court finds
that it was appropriate to use a random sample. In addition,
based on Dr. McAlvanah’s testimony, the Court finds that a
random sample of 87 deals was an adequate sample from which
to draw statistically valid data that can be extrapolated to

the entire population. Id. 44:14-17.2

2 For the first time in his post-trial briefing, Mr. Braun argues
that Dr. McAlvanah did not use an appropriately sized random sample
to draw a conclusion with a 95% or a 99% confidence interval. Mr.
Braun cites to mathematical formulas (with no explanation) in the
footnotes of his post-trial brief and argues that the appropriate
sample size was at least 385 deals (if a 95% confidence interval
were used) and at least 664 deals (if a 99% confidence interval
were used). See Def. Opening Post-Trial Br. (“Def. Opening Br.”)
at 4 & nn. 7-8, ECF No. 208. The Court declines to consider Mr.
Braun’s newly offered evidence regarding the sample size. Mr. Braun
did not offer any evidence at trial suggesting the random sample
was inadequate based upon the need to conduct a certain type of
statistical test with a 95% or 99% confidence interval. And the
Court was clear that it did not “want any additional evidence” on
the issue of damages in the parties’ post-trial briefing because
“[t]he evidence was all submitted.” Tr. 325:18-19. The Court only
invited “any further argument that anyone wants to make.” Tr.
325:17-18. Furthermore, even if the Court were to consider this
evidence, it is not at all clear Mr. Braun’s criticisms are valid
for the type of statistical test that Dr. McAlvanah performed.
Accordingly, the Court takes note that Mr. Braun failed to raise

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8. Of those 87 deals, Dr. McAlvanah identified 23 deal in which
the defendants over-collected from their customers. Tr. 47:4-
6. Dr. McAlvanah thus concluded that the “the mostly likely
over-collection rate in the population of 1,499” deals is
26.4%. Tr. 51:12-21, 53:3-5. See FTC Ex. 3. Dr. McAlvanah
also concluded that “the upper limit of statistically
reasonable values” is an over-collection rate of 37%. Tr.
53:8-9. See FTC Ex. 3. The Court credits these conclusions. ?

9. The Court accordingly finds that the over-collection rate for
the 1,499 deals funded between June 10, 2015 and June 10,

2020 is 26.4%, because that is the statistically most likely

any factual disputes regarding the random sample that Dr. McAlvanah
employed.

3 During cross examination, defense counsel implied that the Court
should doubt all of Dr. McAlvanah’s calculations because he did
not personally derive the underlying data about which MCA
agreements were underfunded or over-collected, and by how much,
but instead relied upon information that was provided to him by
the FTC. See Tr. 107:15-110:6. Defense counsel also implied that
deals were included in the dataset from after Mr. Braun’s alleged
firing in December 2018 (of which Mr. Braun offered no affirmative
evidence). See Tr. 110:7-112:7. However, Mr. Braun never provided
any affirmative evidence that the FTC made any miscalculations.
Furthermore, Ms. Elizabeth Kwok, an FTC investigator, provided
credible testimony as to how the FTC derived the underlying data
that was provided to Dr. McAlvanah and testified that the last
deal included in the dataset was from November 2018 (well in
advance of Mr. Braun’s alleged firing). See Tr. 124:18-19, 170:20-
174:1. In fact, the FTC conceded it was not seeking any damages
for violations that occurred after November 2018. See Tr. 266:9-
23. Accordingly, the Court finds that all of Dr. McAlvanah’s
calculations are accurate, and notes again that Mr. Braun has not
provided any evidence to question the accuracy of Dr. McAlvanah’s
various calculations.

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over-collection rate. Using the 37% over-collection rate, as
the FTC has suggested, would be inappropriate because it is
the most statistically unlikely percentage within the 95%
confidence interval and there was no persuasive testimony
indicating that it would be more reasonable to use the 37%
over-collection rate instead of the more likely 26.4% over-
collection rate. See FTC Ex. 3.

Based on an over-collection rate of 26.4%, the Court
finds that Mr. Braun and his co-defendants over-collected on
396 deals between June 10, 2015 and June 10, 2020.

Turning to the three-year window on over-collection, Dr.
McAlvanah found that 918 deals had at least one transaction
between June 10, 2017 and June 10, 2020. See Tr. 54:10-56:9.
The Court again credits this conclusion, and notes once more
than Mr. Braun offered no contrary evidence.

Dr. McAlvanah then winnowed down his original random
sample of 87 deals to 52 deals that fell within the three-
year window. Tr. 56:23-57:4. Based on the testimony of Dr.
McAlvanah, the Court finds that this was an adequate and valid
random sample. See Tr. 57:6-8.

Of those 52 deals, Dr. McAlvanah identified 14 deal in
which the defendants over-collected from their customers. Tr.
58:6-10. Dr. McAlvanah thus concluded that “the mostly likely

guess ff[or] what the over-collection rate is within thle]
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three-year population” of 918 deals is 26.9%. Tr. 58:10-15.
See FTC Ex. 4. Dr. McAlvanah also concluded that 41% was the
highest over-collection rate that was statistically
reasonable based on the results of the random sample. See Tr.
64:24-65:2. Mr. Braun offered no evidence to suggest that the
over-collection rate that Dr. McAlvanah calculated was
inaccurate.

The Court finds that the over-collection rate for the
918 deals funded between June 10, 2017 and June 10, 2020 is
26.9%, because that is the most statistically likely over-
collection rate. See FTC Ex. 4. It would be inappropriate to
use the 41% rate of over-collection, as the FTC suggests, for
the same reasons that it would be inappropriate to use the

37% rate of over-collection for the deals funded within the

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five-year period.

Using an over-collection rate of 26.9%, the Court finds
that Mr. Braun and his co-defendants over-collected on 247
deals between June 10, 2017 and June 10, 2020.

Dr. McAlvanah concluded that the mean over-collection
amount was $9,397 for the deals funded between June 10, 2017
and June 10, 2020. Tr. 62:15-64:7. See FIC Ex. 6. Mr. Braun
provided no evidence to suggest that the calculation of the
mean over-collection rate was inaccurate. Accordingly, the

Court finds that the mean over-collection amount was $9,397.

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Based on the Court’s findings that Mr. Braun and his co-
defendants over-collected an average of $9,397 on each of 247
deals, the Court finds that Mr. Braun and his co-defendants
over-collected $2,321,059 from their customers between June
10, 2017 and June 10, 2020.

Mr. Braun and his co-defendants also underfunded the MCA
agreements and misrepresented the amount of money that
customers would receive pursuant to the MCA agreements. Tr.
89:1-13. Mr. Braun knew of and participated in the scheme to
deduct upfront fees and not pay the specified upfront lump
sum amount. Tr. 91:19-21. Mr. Braun also had authority to
control the underfunding of the MCA agreements. Tr. 92:7-10.

Dr. McAlvanah also performed a statistical analysis to
determine the number of times that Mr. Braun and his co-
defendants underfunded their deals with consumers. Tr. 38:23-
25, 67:1-5. Dr. McAlvanah similarly performed this analysis
for a five-year period and a third-year period to account for
the different statutes of limitations for civil penalties and
damages. See FTC Ex. 7; FTC Ex. 8. The Court credits this
analysis.

For the five-year period in which the defendants funded
1,499 deals, Dr. McAlvanah used the same random sample of 87

deals that he used to determine the over-collection rate. See

Tr. 43:23-24, 44:2-3, 47:14-17, 67:6-16. Of those 87 deals,

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funding information was only available for 52 deals. Tr.
68:16-20. Dr. McAlvanah testified that 52 deals are still a
sufficient number of observations from which to draw a
statistically valid conclusion. Tr. 68:21-69:6. The Court
finds that testimony credible and accordingly finds that 52
deals were an adequate random sample.

Of those 52 deals for which funding information was
available, Dr. McAlvanah identified 18 deals in which the
defendants underfunded the MCA Agreements. Tr. 70:11-17. Dr.
McAlvanah thus concluded that the “most likely” underfunding
rate for the 1,499 deals funded in the five-year period is
34.6%. Tr. 70:17-21, 71:22-24. See FIC Ex. 7. Dr. McAlvanah
also concluded that “the range of statistically likely values
for the underfunding rate” was 22.0% to 49.1%. Tr. 70:23-
71:3, 72:5-7. See FTC Ex. 7. The Court accepts these
conclusions, and notes that Mr. Braun provided no evidence to
suggest that the underfunding rate that Dr. McAlvanah
calculated was inaccurate.

The Court thus finds that the underfunding rate for the
1,499 deals funded between June 10, 2015 and June 10, 2020 is
36.4%, because that is the most statistically likely
underfunding rate. There was no persuasive testimony
indicating it would be more appropriate to use either the
lower or higher end of statistically likely values for the

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underfunding rate, as those rates are far less probable than

the 36.4% underfunding rate. See FTC Ex. 7.

23. Based on an underfunding rate of 36.4%, the Court finds
that Mr. Braun and his co-defendants underfunded

approximately 546 deals between June 10, 2015 and June 10,
2020.

24. Now turning to the three-year window for underfunding,

Dr. McAlvanah found that “[t]here were 768 deals . . . in
which the first transaction occurred” between June 10, 2017,
and June 10, 2020. See Tr. 72:8-73:15. The Court credits this
conclusion.

25. Dr. McAlvanah then winnowed down his original random

sample of 87 deals to 19 deals that fell within the three-
year window for which funding information was available. Tr.
73:19-74:8. Dr. McAlvanah testified that 19 deals are af
sufficient random sample from which to draw a statistically
valid conclusion. Tr. 74:9-18. The Court finds this testimony

credible and accordingly finds that 19 deals were an adequate

random sample.
26. Of those 19 deals, Dr. McAlvanah identified 9 deals in
which the defendants underfunded the MCA agreements. Tr.

75:4-6, 93:20-21. Dr. McAlvanah thus concluded that the “best

estimate” of the rate of underfunding is 47.4%. Tr. 74:4-ll1,

93:21-25. See FTC Ex. 8. Dr. McAlvanah also concluded that

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the range of statistically likely values for the underfunding
rate is between 24.4% and 71.1%. See Tr. 93:25-94:4; FTC Ex.
8. Mr. Braun provided no evidence to suggest that Dr.
McAlvanah inaccurately calculated the underfunding rate.

The Court thus finds that the underfunding rate between
June 10, 2017 and June 10, 2020, is 47.4%, because that is
the most statistically likely underfunding rate. See FTC Ex.
8. There was no persuasive testimony indicating it would be
more reasonable to use 71.1% as the underfunding rate, as the
FTC suggests, when the 47.4% rate of underfunding is the most
statistically likely underfunding rate.

Using an underfunding rate of 47.4%, the Court finds
that Mr. Braun and his co-defendants underfunded 364 deals
between June 10, 2017 and June 10, 2020.

Dr. McAlvanah concluded that the mean underfunding
amount was $3,022 for the deals funded between June 10, 2017
and June 10, 2020. Tr. 96:6-97:22. See FTC Ex. 10. The Court
credits this conclusion. Accordingly, the Court finds that
the mean underfunding amount was $3,022.

Based on the Court’s findings that Mr. Braun and his co-
defendants underfunded 364 deals by an average amount of
$3,022, the Court finds that Mr. Braun and his co-defendants
underfunded the MCA Agreements by $1,100,008 between June 10,

2017 and June 10, 2020.

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The evidence also shows that Mr. Braun not’ only
personally participated in this illegal conduct, but did so
gleefully, with little remorse. This is evidenced, for
example, by numerous emails that Mr. Braun sent to Stone
Funding.

On March 30, 2017, Mr. Braun sent an email to Stone
Funding, stating “it was 1.99 and i am in profit, i did 999
a day on 10k and cleared 13k already LOL.” To which Stone
Funding replied, “it’s disgusting...you’re ruining this guys
business and you think it’s funny.” FTC Ex. 49-1.

On May 24, 2017, Mr. Braun sent email to Stone Funding
and Mr. Reich, stating “we also over collected 3,200 on the
previous 5k deal - LOL.” FTC Ex. 53-1.

On November 16, 2017, Mr. Braun sent an email to Stone
Funding, stating “LOL WE ARE OVER 10K ON RAM I SHUT IT OFF,
AND INSTEAD OF REFUNDING HIM 10K, ILL GO TO CONTRACT FOR 10K
-— NET HIM 8K BUT HE OWES A NEW 15K IN 30 PAYMENTS ~- IM RUNNING
RCG, VICEROY, AND RAM DEALS WITH THIS MORON LOL[.]” FTC Ex.
60-1.

On February 12, 2018, Mr. Braun emailed Stone Funding
that, “we actually are over paid by 6k - so i went to contract,
for 10k - held back 2k in fees - and 2k ‘refi’ which he doesnt
even owe — and sent his 6k - and lowered daily to 599 instead
of 699 - lol[.]” Stone Funding then replied, “lol omg,” to

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which Mr. Braun boasted, “FREE RIDE LOL — try and make extra
money with no risk lol.” FTC Ex. 62-1.

On March 27, 2018, Mr. Braun emailed Stone Funding, “lol
dont worry we are 13k over paid on our last deal, its free
spin.” FTC Ex. 64-1.

Mr. Braun’s lack of remorse for his blatantly illegal
conduct is also illustrated by his exchanges with Mr. Reich.
In a conversation with Mr. Reich on April 26, 2017, Mr. Braun
stated, “lets just leave on forever and over collect lol.”
FTC Ex. 50-9. Then, in a later conversation with Mr. Reich,
on June 20, 2017, Mr. Braun professed “and 1 over collected
16k lol.” FTC Ex. 54-7.

On multiple occasions, Mr. Braun also evidenced complete
disregard for how his actions would affect his customers (most
of whom were small businesses).

First, on July 20, 2017, when Mr. Braun received a
forwarded email from a consumer. explaining she was owed
$11,913.30, Mr. Braun instructed that the consumer should be
“ignore[d].” FTC Ex. 55-1.

Second, in an email exchange with Stone Funding on
November 22, 2017, Mr. Braun boasted, “Its ok, im gonna beat
this bitch at his own game, they may be sneaky and shady, but
they never thought theyd ever land on a slick mother fucker

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like me, ill rock his world.” Mr. Braun then continued, “im

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gonna get paid and make yet again another grown man cry.” FTC
Ex. 61-1.

Third, in yet another email exchange with Stone Funding,
on February 22, 2018, Mr. Braun explained, “i see your offers
and then look at it clearer and figure out what type of shady
shit i can pull off ilo.” FTC Ex. 63-1.

Fourth, on March 30, 2018, Mr. Braun told Stone Funding
that a deal “was signed at 4,999 then I changed it to 19,999
& 19,999 lol cause I smelled the opportunity it’s extra 30k
I gotta do what I gotta do.” FTC Ex. 65-1.

Fifth, in response to a forwarded request from a consumer
for payoff letter on July 21, 2017, Mr. Braun told Mindy Stone
and Mr. Reich, “UR NOT REQUESTING IT RIGHT, YOU FWD US THERE
EMAILS LIKE WE GIVE A SHIT, ILL GET YOU PAY OFF LETTER, AND

ADD SOME EXTRA TO IT CAUSE HES ANNOYING AS HELL.” FIC Ex. 56-

Sixth and finally, Mr. Reich recorded a video of Mr.
Braun making grossly threatening comments to a borrower over
the phone in order to intimidate the borrower from gaining
information. Among other things, Mr. Braun threatened to send
the consumer to jail and said he would spit on the consumer’s
“fucking face on visiting day” in prison. Mr. Braun told the
consumer to drive his Honda “off a cliff” and that he hoped

the consumer’s wife would leave him. Throughout the call, Mr.

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Braun also called the consumer a “fucking lowlife,” a “loser,”
a “degenerate,” and “a piece of shit.” FIC Ex. 74.

In its prior submissions and post-trial briefing, the
FTC also attempted to show that the misconduct at issue in
this case is only one part of Mr. Braun’s longer history of
similar misconduct. However, most of the evidence that the
FTC put forward on this score is only of little or no
relevance to the assessment of civil penalties.

First, as the Court already indicated at the close of
the trial, the Court will take judicial notice of the fact
that Mr. Braun was convicted of conspiracy to commit money
laundering in connection with a drug offense. See ECE No.
188-1; Tr. 326:1-18. However, because this conviction is for
conduct that is different in kind from the conduct at issue
in this case, the Court finds that it is of little relevance
to the legal questions at issue in this case.

Second, the FTC urges the Court to consider that
Yellowstone Capital, to which Mr. Braun brokered business
between 2013 and 2018, settled with the FTC for $9.8 million,
after the FTC alleged it had engaged in similar underfunding
and over-collecting on MCA agreements. See Compl., 20-cv-
6023, ECF No. 1; Stipulated Order for Permanent Inj. and
Monetary J., 20-cv-6023, ECF No. 44; FTC. Ex. 75 at 6:18-7:8.
However, this lawsuit was not filed against Mr. Braun, there

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is no evidence that Mr. Braun participated in the alleged
wrongdoing, and the Stipulated Order that settled the lawsuit
did not include an admission from Yellowstone Capital that it
committed the alleged over-collecting and underfunding. See
Stipulated Order for Permanent Inj. and Monetary J., 20-cv-
6023, 43. Accordingly, the Court declines the FTC’s
invitation to find this settlement relevant to the present
issues, as it does not establish that the alleged over-
collecting and underfunding in that case was actually
committed or that Mr. Braun was involved.?

48. Third, the FTC urges the Court to consider complaints of
Similar misconduct filed by consumers against numerous
corporate defendants (none of which are Mr. Braun or the
corporate defendants in the present lawsuit). See ECF Nos.

188-5, 188-6, 188-7; FTC Ex. 75 at 4:13-7:6. However, these

4 The FTC cites to two out of circuit district court cases for the
proposition that it is appropriate to consider evidence of prior
governmental actions that settled without an adjudication of
wrongdoing in determining the appropriate amount of civil
penalties. Setting aside the fact that neither of those cases are
binding on this Court, those cases are also factually dissimilar
because the prior settlements at issue there were with the same
defendant that the FTC was then suing for civil penalties. See
United States v. Cornerstone Wealth Corp., 549 F. Supp. 2d 811,
813-14, 822 (N.D. Tex. 2008); United States v. Dish Network LLC,
256 F. Supp. 3d 810, 978 (C.D. Ill. 2017), aff'd in part, vacated
in part, remanded sub nom. United States v. Dish Network L.L.C.,
954 F.3d 970 (7th Cir. 2020). By contrast, here the settlement was
not with Mr. Braun and there is no evidence Mr. Braun was involved
in Yellowstone Capital’s illegal conduct. The cases are thus
completely inapposite.

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complaints provide no evidence that Mr. Braun actually
engaged in any of the alleged misconduct.

Fourth, the FTC urges the Court to consider that a New
York State judge entered a preliminary injunction against Mr.
Braun in a parallel state action for continuing to engage in
misconduct after New York State filed suit. See ECF Nos. 188-
3, 188-4. Although the Court will take judicial notice of
this preliminary injunction, the Court does not see how the
entrance of a preliminary injunction against Mr. Braun based
on actions after 2020 is relevant to showing that Mr. Braun
has a prior history of similar misconduct.

On the issue of Mr. Braun’s ability to pay a fine, Mr.
Braun submitted with his post-trial briefing an affidavit
claiming that his annual salary is $30,000, 15% of which he
pays on a monthly basis to the Government, that he has “almost
no financial assets,” and that he has “no ability to pay the
monetary damages and/or civil penalties” at issue in this
case in part because this Court banned Mr. Braun from
participating in debt collection activities for the rest of
his life. Braun Decl., 191 4-5, 7, 9, ECF No. 208-1.

Although the Court invited the parties to submit post-
trial declarations or other evidence on the issue of Mr.
Braun’s ability to pay a fine, see Tr. 326:19-23, the Court

does not find Mr. Braun’s affidavit to be credible. Mr. Braun

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had every opportunity to testify on his own behalf at trial.
Instead, Mr. Braun chose to waive even his appearance at his
own civil trial and then wait until after trial to submit a
self-serving declaration, with no corroborative evidence, to
plead his case. The Court cannot help but infer that Mr. Braun
chose this route to avoid being cross-examined by the FTC on
the veracity of the assertions he now makes in his
declaration. Furthermore, Mr. Reich’s testimony that he was
“aware of Mr. Braun .. . placing money with others rather
than keeping it in his [own] name” makes the Court doubt the
relevance of the assertion that Mr. Braun personally has no
financial assets. See Tr. 223:17-19.° Accordingly, the Court
gives little to no weight to Mr. Braun’s self-serving

assertion that he has no ability to pay a fine.

5 In its post-trial briefing, the FTC urges the Court to find that
Richmond Capital (another name for defendant RCG, see Tr. 189:20-
22) wired $44 million to Kessef Capital, an entity affiliated with
Mr. Braun’s family, and that $3 million of that money was then
wired to Mr. Braun’s wife. The FTC seemingly ignores that the Court
excluded all of the exhibits relating to Kessef Capital because
the FTC never established a sufficient connection between that
evidence and Mr. Braun. See Tr. 248:23-249:21, 277:7-13. The FTC
cannot now attempt to backdoor that evidence into the record by
citing testimony about those excluded exhibits or by arguing the
exhibits are somehow magically admissible to impeach Mr. Braun’s
newly submitted declaration when the FTC still has not shown a
sufficient connection between the transfers to Kessef Capital and
Mr. Braun. Accordingly, the Court will not consider any of that
evidence in making its determinations.

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52. The most that the Court can find on this score is that
there is ample evidence that Mr. Braun earned money from his
work at RCG and Ram. See, e.g., FTC Ex. 75 at 12:13-15 (“So
nobody is working for free. This is not let’s like do the

world a big favor and work and for free voluntary work.”).

II. Conclusions of Law

For the reasons discussed below, the Court concludes that the
FTC is entitled to $3,421,067 for consumer redress and $16,956,000
in civil penalties for Mr. Braun’s repeated violations of the GLB

Act.

a. Consumer Redress

Under Section 19 of the FIC Act, the Court may award relief,
such as “the refund of money” or “the payment of damages,” that it
“finds necessary to redress injury to consumers.” 15 U.S.C.
§ 57b(b). For the reasons already explained in the Court’s decision
on summary judgment, the FTC is entitled to seek monetary damages
under Section 19 of the FTC Act for Mr. Braun’s violations of the
GLB Act that occurred between June 10, 2017 and June 10, 2020. See
9/27/23 Op. at 33-36; 15 U.S.C. § S7b(d).

The Court already laid out the relevant legal framework for
calculating consumer redress in its instructions of law to the
jury but repeats it here for the sake of clarity. The FTC can meet

its burden of proof to show the amount of monetary damages by

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putting forward a reasonable estimate of the harm to borrowers.
Once the FTC puts forward evidence of a reasonable estimate, the
burden shifts to Mr. Braun to show why the FTC’s reasonable
estimate is inaccurate or unreasonable. As noted, much of what the
FTC presented at trial on this issue was uncontested there by Mr.
Braun.

Now, for the first time in his post-trial briefing, Mr. Braun
argues that the FTC may not rely upon a reasonable estimate to
show damages but must instead show the “precise amount of monetary
harm” that Mr. Braun caused to specific consumers. Def. Opening
Br. at 3-6; Def. Post-Trial Reply Br. (“Def. Reply Br.”) at l, 4,

ECF No. 210.° For starters, this argument is waived because Mr.

6 Mr. Braun also appears to repeatedly protest that the defendants’
“total gross receipts” are the proper baseline for consumer redress
under Section 19. See Def. Opening Br. at 3; Def. Reply Br. at 2.
This argument is similarly waived because it was not presented as
an objection at the charging conference. See Tr. 264:14-268:15. In
addition, the Court is puzzled as to why Mr. Braun would advocate
for this position, as it would result in a vastly higher consumer
redress amount than what the FTC is currently seeking. Setting Mr.
Braun’s unclear motivations aside, he is also wrong on the law.
The recovery of gross receipts serves as a baseline when the FTC
seeks to rely upon a presumption of consumer reliance. See F.T.C.
v. BlueHippo Funding, LLC, 762 F.3d 238, 244-45 (2d Cir. 2014).
Here, the FTC expressly disclaimed its intent to rely on the
presumption of consumer reliance because they were only seeking
the amount that Mr. Braun and his co-defendants underfunded and
over-collected, not the return of all the money that Mr. Braun and
his co-defendants received from consumers pursuant to the MCA
agreements. See Tr. 259:4-261:14; FTC Post-Trial Reply Br. at 3
n.2, ECF No. 209. Accordingly, there is no reason total gross
receipts should serve as a baseline in this case, where the amount
of underfunding and over-collecting is the best match for the
consumer harm that needs to be redressed.

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Braun did not raise it as an objection to the Court’s instructions
of law at the charging conference. See Tr. 264:14-268:15. It is
accordingly not properly before the Court.

Worse yet for Mr. Braun, his argument is wrong on the merits.
The Second Circuit’s precedent is clear that there is “a two-step
burden-shifting framework for calculating equitable monetary

relief.” FTC v. Moses, 913 F.3d 297, 310 (2d Cir. 2019).’ And the

first step of that burden-shifting framework is that “the FTC
[must] show that its calculations reasonably approximated

the defendants’ unjust gains.” Id. (emphasis added). Mr. Braun has
not provided a single, cogent reason as to why the Second Circuit’s)
established framework for awarding equitable monetary relief in
FTC actions should not apply here.

The closest Mr. Braun comes to providing a rationale for his
position is that the failure to present evidence as to which.
specific consumers were harmed could result in some consumers
receiving a windfall when the FTC distributes the monetary award
under Section 19 to the effected consumers. That very well may
pose an administrative hurdle when the FTC begins the process of
distributing the monetary award to consumers; however, it is not
an argument that undermines settled Second Circuit precedent that

the FTC may rely on a reasonable approximation to determine the

7 Unless otherwise indicated, case quotations omit all internal
quotation marks, alterations, footnotes, and citations.

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aggregate consumer harm that Mr. Braun’s fraudulent conduct
caused. To hold otherwise would make it incredibly difficult, if
not effectively impossible, for the FTC to ever recover a monetary
consumer redress award when there are hundreds of affected

consumers. Cf. BlueHippo Funding, LLC, 762 F.3d at 244 (“To require

proof of each individual consumer’s reliance on a defendant’s
misrepresentations would be an onerous task with the potential to
frustrate the purpose of the FTC’s statutory mandate.”); F.T.C. v.

Sec. Rare Coin & Bullion Corp., 931 F.2d 1312, 1316 (8th Cir. 1991)

(“This is not a private fraud action, but a government action
brought to deter unfair and deceptive trade practices and obtain
restitution on behalf of a large class of defrauded investors. [It
would be inconsistent with the statutory purpose for the court to
require proof of subjective reliance by each individual
consumer.”). Accordingly, the Court declines Mr. Braun’s
invitation to deviate, without rhyme or reason, from settled Second
Circuit precedent.

The Court now turns to the application of the burden-shifting
framework to the facts of this case. The Court has already held
that the defendants’ misrepresentations regarding the amount that
the defendants would collect and the amount consumers would receive
violated the GLB Act. See 9/27/23 Op. at 27-30. Additionally, the
Court already held that Mr. Braun can be held responsible for

violations of the GLB Act that he personally committed and for

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those violations of the GLB Act that his co-defendants committed.
See id. at 30-32. The FTC’s random sample evidence provides a
reasonable approximation of the consumer harm caused by the
misrepresentations that Mr. Braun is responsible for, as the amount
that the defendants over-collected or underfunded the deals is a
direct proxy for the injury caused by the misrepresentations that
the defendants made regarding the amount of funding consumers would
receive and the amount of money that the defendants would collect.
Applying the three-year statute of limitations that is applicable
to this part of the case, the FIC’s evidence showed that Mr. Braun
is responsible for underfunding 364 deals by an average of $3,022,
which totals $1,100,008, and the FTC’s evidence also showed that
Mr. Braun is responsible for over-collecting on 247 deals by an
average of $9,397, which totals $2,321,059.

Mr. Braun, for his part, put forward no evidence showing that
the FTC’s reasonable estimate was inaccurate or unreasonable.
Setting aside Mr. Braun’s ill-conceived attacks on Dr. McAlvanah’s
calculations (none of which the Court finds persuasive for the
reasons explained in its factual findings), Mr. Braun’s only other
argument now appears to be that because the FTC did not identify
individual consumers that were harmed and no individual consumers
testified as to the harm they suffered, the FTC has not shown there
was any consumer injury. See Def. Opening Br. at 3, 5. Mr. Braun

completely misses the point. The FTC did provide evidence that

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individual consumers were harmed; Dr. McAlvanah’s calculations
relied on a random sample of actual consumers some of whom were
actually harmed by Mr. Braun’s fraudulent and deceptive conduct.
Accordingly, the Court awards $3,421,067 to the FTC to redress
the harm that Mr. Braun’s misconduct caused to consumers. This, it
may be noted, is just under the $3,500,000 figure that the jury

recommended on this score.

b. Civil Penalties

Under Section 5(m) (1) (A) of the FTC Act, the FTC may seek
civil penalties “against any person . . . [who] violates any rule
under this subchapter respecting unfair or deceptive acts or
practices . . . with actual knowledge or knowledge fairly implied
on the basis of objective circumstances that such act is unfair or
deceptive and is prohibited by such rule.” 15 U.S.C. § 45(m) (1) (A).
A five-year statute of limitations applies to the FTC’s recovery
of civil penalties. 28 U.S.C. § 2462. The Court already held that
the FTC may seek civil penalties for Mr. Braun’s violations of the
GLB Act. See 9/27/23 Op. at 40-41. In addition, the jury found
that Mr. Braun acted with the requisite knowledge for the
imposition of civil penalties. See Jury Verdict.

Since the FTC is entitled to civil penalties, the Court must
now turn to calculating the appropriate amount to award as a civil

penalty per violation. The statute instructs the Court to “take

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into account the degree of culpability, any history of prior such
conduct, ability to pay, effect on ability to continue to do
business, and such other matters as justice may require” when
“determining the amount of such a civil penalty.” 15 U.S.C.
§ 45(m) (1) (C).°

The Court first turns to the degree of Mr. Braun’s
culpability. The evidence established that Mr. Braun is highly
culpable. Mr. Braun was in charge and used that authority to
defraud consumers deliberately and knowingly by underfunding and
over-collecting on MCA agreements. And this illegal conduct was
not an isolated incident. The evidence showed that Mr. Braun and
his co-defendants, over whom he exercised considerable control and
authority, violated the GLB Act 942 times. This extensive
misconduct is made all the more egregious by the fact that Mr.
Braun boasted about his illegal conduct and treated it as a
laughing matter, evidencing little remorse for his illegal
conduct.

Mr. Braun attempts to downplay his culpability by arguing

that he was merely an underwriter, his name was not on the relevant

8 For the reasons explained on the record, the Court did not
instruct the jury as to three of the statutory factors (prior
misconduct, ability to pay, and effect on the ability to continue
to do business). See Tr. 269:17-270:17. However, because the Court
must make the final decision on the appropriate amount of civil
penalties, the Court will consider all five statutory factors in
making its decision.

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documents, and there was no evidence that he defrauded specific
consumers. Mr. Braun posits at the very least that he is no more
culpable than his co-defendants, who settled this matter with the
FTC for less than the amount the FTC is currently seeking against
Mr. Braun. Def. Opening Br. at 6-7; Def. Reply Br. at 7-8. Mr.
Braun’s arguments fly in the face of the undisputed facts that the
Court found on summary judgment, which were binding at trial and
on Mr. Braun. Regardless of whether Mr. Braun’s name was on the
relevant documents, the undisputed evidence establishes beyond
question that Mr. Braun exercised considerable control over all
the co-defendants, exercised authority over the over-collecting
and underfunding of MCA agreements, and was an owner, manager, and
officer of RCG. The fact that the FTC did not name specific
consumers that Mr. Braun defrauded is beside the point, as the
evidence at trial established that Mr. Braun and his co-defendants
violated the GLB Act a whopping 942 times. The Court thus concludes
that Mr. Braun is highly culpable and that this factor favors the
imposition of a very substantial civil penalty amount.

Second, the Court will consider Mr. Braun’s history of prior
misconduct. The statute instructs that the Court must consider
“any history of prior such conduct.” 15 U.S.C. § 45(m) (1) (C)
(emphasis added). The Court understands this statutory phrase to
only require the Court to consider Mr. Braun’s history of

committing similar violations to those at issue in this case,

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rather than sweeping in any prior, unrelated illegal conduct by
Mr. Braun. Accordingly, Mr. Braun’s conviction for money
laundering is of little to no relevance in assessing the
appropriate civil penalty amount. Furthermore, the evidence that
the FTC attempted to put forward of Mr. Braun’s prior history of
over-collecting and underfunding MCA agreements was of no
probative value. The settlement and complaints that the FTC pointed
to resulted in no admission of wrongdoing and were against
defendants other than Mr. Braun, with no indication that Mr. Braun
was involved in the wrongdoing alleged against those defendants.
And the preliminary injunction in New York State case was based on
conduct that occurred after 2020 and the same conduct that is at
issue in this case, which does not establish a prior history of
similar misconduct. Accordingly, the second factor does not
militate in favor of imposing an even higher civil penalty beyond
that warranted by Mr. Braun’s egregious misconduct in this case.
Third, the Court will consider Mr. Braun’s ability to pay.
Despite Mr. Braun’s extensive involvement in underfunding and
over-collecting on MCA agreements in this case, it is not clear
how much money Mr. Braun personally derived from his illegal
conduct or if he has the financial wherewithal to withstand a large
monetary judgment in this case. Mr. Braun’s affidavit, proclaiming
his inability to pay a fine, is not credible, but the FTC has put

forward very little evidence that Mr. Braun secreted his assets to

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other individuals to judgment-proof himself, other than vague
testimony from Mr. Reich. However, the evidence does support
finding that Mr. Braun was not working for free and must have at
least earned substantial money from his work on the MCA agreements
at issue in this case. Accordingly, the Court finds that the third
factor is neutral in its analysis of the appropriate civil penalty
amount to award.

Fourth, the Court will consider the impact of any civil
penalty on Mr. Braun’s ability to continue to do business. Because
the Court’s previously entered permanent injunction banned Mr.
Braun from participating in the merchant cash advance industry or
debt collection activities for the rest of his life, see Order for
Permanent Inj. as to Def. Jonathan Braun at 5-6, a civil penalty
will have no impact on Mr. Braun’s ability to continue his business
in the merchant cash advance industry. The Court thus finds the
fourth factor is neutral in its analysis of the appropriate civil
penalty amount to award.

Fifth, the Court will consider any “other matters” it finds
that “justice may require.” 15 U.S.C. § 45(m) (1) (C). The Court
finds that it must consider the utter disregard and contempt that
Mr. Braun showed for consumers. The evidence showed that Mr. Braun
blatantly ignored or disregarded consumer complaints and spewed
vile threats and profanities when a consumer was purportedly unable

to pay his debts. Mr. Braun’s conduct toward consumers was

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completely out of bounds and inappropriate. Mr. Braun’s treatment
of consumers thus favors imposing a higher civil penalty amount
per violation.

Based upon the Court’s analysis of the foregoing factors, the
Court concludes that a civil penalty of $18,000 per violation is
warranted.? This civil penalty amount best reflects the seriousness
of Mr. Braun’s extensive misconduct. As the Court already held at
summary judgment, Mr. Braun is responsible for violations of the
GLB Act that he personally committed and for those violations of
the GLB Act that his co-defendants committed. See 9/27/23 Op. at
30-32. The evidence thus shows that Mr. Braun violated the GLB Act
942 times (by over-collecting on 396 deals and underfunding 546
deals) within the statute of limitations period (June 10, 2015 to
June 20, 2020). Accordingly, the FTC is entitled to a civil penalty

award of $16,956,000.1°

9 At the time that the advisory jury rendered its verdict, the
maximum civil penalty per violation was $50,120. That same day,
however, the FTC promulgated a final rule that increased the
maximum civil penalty amount to $51,744. See 89 Fed. Reg. 1445,
1446 (Jan. 10, 2024). Now, the FTC urges this Court to consider
$51,744 as the maximum civil penalty amount per violation, while
Mr. Braun argues that the Court should use $50,120 as the maximum
civil penalty amount per violation “in the interest of justice.”
Def. Reply Br. at 5. The Court need not decide the maximum civil
penalty amount that applies here, as the Court would find that
$18,000 per violation is the appropriate civil penalty amount
regardless of whether the maximum civil penalty per violation is
$50,120 or $51,744.

10 The Court, of course, is in no way bound by the jury’s advisory
recommendation that the FTC was entitled to $7,500,000 in civil

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TII. Conclusion

For the foregoing reasons, the Court hereby enters Final
Judgment as follows:

1. Judgment in the amount of THREE MILLION, FOUR HUNDRED

AND TWENTY-ONE THOUSAND, AND SIXTY-SEVEN Dollars
($3,421,067) is entered in favor of the FTC against

defendant Jonathan Braun, with post-judgment interest at

the legal rate, as monetary relief pursuant to Section

19 of the FTC Act, 15 U.S.C. § 57b, for defendant

Jonathan Braun’s violation of Section 521 of the GLB

Act. This judgment is joint and several with (1) the
judgment entered in this case against defendants RAM

Capital Funding LLC and Tzvi Reich on January 8, 2022

(ECF No. 102) and (2) the judgment entered in this case
against defendants RCG Advances, LLC and Robert Giardina

on June 2, 2022 (ECF No. 127).

2. The judgment entered in Section 1 of this Judgment is
enforceable against any asset, real or personal, whether

located within the United States or outside the United

penalties. The Court finds that the jury’s civil penalties award
did not adequately reflect the egregiousness and deliberateness of
Mr. Braun’s extensive misconduct. To be frank, the Court believes
the jury’s relatively low civil penalty award resulted from the
FTC’s frequent inability to present the evidence to the jury in a
non-confusing manner, for which the Court critiqued the FTC at
trial outside the presence of the jury. See Tr. 217:4-15.

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States, owned jointly or singly by, on behalf of, for
the benefit of, in trust by or for, or as a deposit for
future goods or services to be provided to, defendant
Jonathan Braun, whether held as tenants in common, joint
tenants with or without the right of survivorship,
tenants by the entirety, and/or community property.

.In partial satisfaction of the judgment against
defendant Jonathan Braun entered in Section 1, any
financial or brokerage institution, escrow agent, title
company, commodity trading company, business entity, or
person, whether located within the United States or
outside the United States, that holds, controls, or
maintains accounts or assets of, on behalf of, or for
the benefit of, defendant Jonathan Braun, whether real
or personal, whether located within the United States or
outside the United States, shall, within ten (10)
business days from receipt of a copy of this Judgment,
turn over such account or assets to the FTC or its
designated agent.

. Judgment in the amount of SIXTEEN MILLION, NINE HUNDRED
AND FIFTY-SIX THOUSAND dollars ($16,956,000) is entered
in favor of the FTC against defendant Jonathan Braun,
with post-judgment interest at the legal rate, as a civil

penalty pursuant to Section 5(m) (1) (A) of the FTC Act,

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15 U.S.C. § 45(m) (1) (A), for defendant Jonathan Braun’s
violations of Section 521 of the GLB Act.

. The judgment entered in Section 4 of this Judgment is
enforceable against any asset, real or personal, whether
located within the United States or outside the United
States, owned jointly or singly by, on behalf of, for
the benefit of, in trust by or for, or as a deposit for
future goods or services to be provided to, defendant
Jonathan Braun, whether held as tenants in common, joint
tenants with or without the right of survivorship,
tenants by the entirety, and/or community property.

.In partial satisfaction of the judgment against
defendant Jonathan Braun entered in Section 4, any
financial or brokerage institution, escrow agent, title
company, commodity trading company, business entity, or
person, whether located within the United States or
outside the United States, that holds, controls, or
maintains accounts or assets of, on behalf of, or for
the benefit of, defendant Jonathan Braun, whether real
or personal, whether located within the United States or
outside the United States, shall, within ten (10)
business days from receipt of a copy of this Judgment,
turn over such account or asset to the FTC or its

designated agent.

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7. Defendant Jonathan Braun relinquishes dominion and all
legal and equitable right, title, and interest in all
assets transferred pursuant to this Order and may not
seek the return of any assets.

8. All money received by the FTC pursuant to Sections 2 and
3 of this Judgment may be deposited into a fund
administrated by the FTC or its designee to be used for
consumer relief, such as redress and any attendant
expenses for the administration of any redress fund. If
a representative of the FTC decides that direct redress
to consumers is wholly or partially impracticable or
money remains after such redress is completed, such
money shall be deemed in payment of the civil penalty
judgment entered in Section 4 of this Judgment and
deposited to the U.S. Treasury.!4 Further, any money
received by the FTC pursuant to Sections 5 or 6 of this
Judgment shall be deposited to the U.S. Treasury.
Defendant Jonathan Braun has no right to challenge any
actions the FTC or its representatives may take pursuant

to this provision.

11 While a standard provision of this nature has been the subject
of some controversy, see FTC v. Consumer Def., LLC, No. 2:18-CV-
30, 2022 WL 18106047, at *3-*4 (D. Nev. Dec. 30, 2022); F.T.C. v.
Figgie Int’1l, Inc., 994 F.2d 595, 607-08 (9th Cir. 1993), in this

case, no objection to this provision has been raised by defense
counsel.

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9. This Court retains jurisdiction of this matter for
purposes of construction, modification, and enforcement
of these provisions.

The Court directs the Clerk of the Court to enter this

Judgment and to close the case.

SO ORDERED.
Dated: New York, NY ( RELA
al
February L , 2024 JED S. RAKOFF, U.S.D.J.

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